Case 1:21-cr-00562-RC Document 90 Filed 06/26/24 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. : Case No. 21-cr-562
BENJAMIN MARTIN
Defendant. :
VERDICT FORM
Count One

How do you find Defendant Benjamin Martin on the charge of Civil Disorder or Aiding
and Abetting, in violation of 18 U.S.C. § 231(a)(3)? J

Not Guilty Guilty

Count Two

How do you find Defendant Benjamin Martin on the charge of Obstruction of an Official
Proceeding or Aiding and Abetting, in violation of 18 U.S.C. § 1512(c)(2)?

Not Guilty Guilty

Count Three

How do you find Defendant Benjamin Martin on the charge of Entering or Remaining in
a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1)?

Not Guilty J Guilty

Count Four

How do you find Defendant Benjamin Martin on the charge of Disorderly or Disruptive
Conduct in a Restricted Building or Grounds, in ee of 18 U.S.C. § 1752(a)(2)?

Not Guilty Guilty

Case 1:21-cr-00562-RC Document 90 Filed 06/26/24 Page 2 of 2

Count Five

5. How do you find Defendant Benjamin Martin on the charge of Disorderly or Disruptive
Conduct in a Capitol Building or Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D)?

Not Guilty J Guilty
Count Six
6. How do you find Defendant Benjamin Martin on the charge of Parading, Demonstrating,

or Picketing in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G)?

Not Guilty Guilty

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Signature of Foreperson

